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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1198V
                                          UNPUBLISHED


    JONATHAN RUIZ,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: September 21, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Catherine Elizabeth Stolar, U.S. Department of Justice, Washington, DC, for
Respondent.


                                 DECISION AWARDING DAMAGES1

       On September 14, 2020, Jonathan Ruiz filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain Barre Syndrome (“GBS”) as a
result of an influenza vaccine received on March 25, 2019. Petition at 1-4. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On May 11, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. On September 20, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $117,449.64 in the form
of a check payable to Petitioner, and $3,984.66 representing compensation for
satisfaction of a State of Connecticut Medicaid lien. Proffer at 2-3. In the Proffer,

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner the
following:

    1. A lump sum payment of $117,449.64 (comprised of $100,000.00 for pain and
       suffering; $935.00 for past unreimbursable expenses; and $16,514.64 for
       past lost wages), in the form of a check payable to Petitioner; and

    2. A lump sum payment of $3,984.66, representing compensation for
       satisfaction of the State of Connecticut’s Medicaid lien, in the form of a
       check payable jointly to Petitioner and:

                State of Connecticut
                Department of Administrative Services
                Collection Services
                450 Columbus Boulevard, Suite 1001
                Hartford, CT 06103

     Petitioner agrees to endorse the check for $3,984.66 to the State of
Connecticut for satisfaction of the Medicaid lien.

      These amounts represent compensation for all damages that would be available
under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
JONATHAN RUIZ,                       )
                                     )
            Petitioner,              )
                                     )  No. 20-1198V
      v.                             )  Chief Special Master Corcoran
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.             )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On September 14, 2020, Jonathan Ruiz (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that he suffered Guillain-Barre Syndrome (“GBS”), as

defined in the Vaccine Injury Table, following administration of an influenza vaccine he

received on March 25, 2019. Petition at 1, 3. On May 10, 2021, the Secretary of Health and

Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate

for compensation under the terms of the Act for a GBS Table injury, and on May 11, 2021, the

Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation.

ECF No. 19; ECF No. 20.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $100,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

related to his vaccine-related injury. Respondent proffers that petitioner should be awarded past

unreimbursable expenses in the amount of $935.00. See 42 U.S.C. § 300aa-15(a)(1)(B).

Petitioner agrees.

       C.       Lost Wages

       Evidence supplied by petitioner documents that he incurred past lost wages related to his

vaccine-related injury. Respondent proffers that petitioner should be awarded past lost wages in

the amount of $16,514.64. See 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

       D.       Medicaid Lien

       Respondent proffers that petitioner should be awarded funds to satisfy the State of

Connecticut’s Medicaid lien in the amount of $3,984.66, which represents full satisfaction of any

right of subrogation, assignment, claim, lien, or cause of action the State of Connecticut may

have against any individual as a result of any Medicaid payments the State of Connecticut has

made to or on behalf of petitioner from the date of his eligibility for benefits through the date of

judgment in this case as a result of his alleged vaccine-related injury suffered on or about April

29, 2019, under Title XIX of the Social Security Act. Petitioner agrees.

       The above amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through




                                                  2
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two lump sum payments as described below and requests that the Chief Special Master’s

decision and the Court’s judgment award the following1:

       1.       A lump sum payment of $117,449.64 in the form of a check payable to petitioner;
                and

       2.       A lump sum payment of $3,984.66, representing compensation for satisfaction of
                the State of Connecticut’s Medicaid lien, in the form of a check payable jointly to
                petitioner and:

                                      State of Connecticut
                              Department of Administrative Services
                                      Collection Services
                              450 Columbus Boulevard, Suite 1001
                                      Hartford, CT 06103

Petitioner agrees to endorse the check for $3,984.66 to the State of Connecticut for satisfaction

of the Medicaid lien.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Jonathan Ruiz:                                 $117,449.64

       Lump sum payable to petitioner, Jonathan Ruiz, and the State of Connecticut: $3,984.66

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 3
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                                   LARA A. ENGLUND
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   /s/ Catherine E. Stolar
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DATED: September 20, 2021




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